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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH DIVISION


 ALEXANDER RHODES                             )         Case No.
                                              )
        Plaintiff,                            )
 v.                                           )         JURY TRIAL DEMANDED
                                              )
 NICOLE PRAUSE                                )
                                              )
 and                                          )
                                              )
 LIBEROS LLC                                  )
                                              )
        Defendants                            )

                                COMPLAINT - CIVIL ACTION
       Plaintiff Alexander Rhodes, by and through undersigned counsel, hereby states as follows

in support of his Complaint against Defendants Nicole Prause and Liberos LLC.

                                              Parties
       1.       Plaintiff Alexander Rhodes (hereinafter “Plaintiff Rhodes”) is a private individual

residing in the Greater Pittsburgh area, Allegheny County, Pennsylvania at all times material

herein. Plaintiff Rhodes is the founder and sole member of NoFap LLC.

       2.       Defendant Nicole Prause (hereinafter “Defendant Prause”) is an individual residing

in Los Angeles County, California. Upon information and belief, Defendant Prause is the founder

and president of Defendant Liberos LLC. Defendant Prause, over the past year and beyond, has

made numerous false and defamatory statements of and concerning Plaintiff Rhodes on the Internet

and other mediums.

       3.       Defendant Liberos LLC (hereinafter “Defendant Liberos”) is a limited liability

corporation incorporated and licensed to transact business in the State of California. Upon
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information and belief, Defendant Prause was acting on behalf of Defendant Liberos LLC at all

times material herein.

                                      Venue and Jurisdiction
        4.       This Court possesses federal diversity under 28 U.S.C. § 1332 as the parties are

diverse in citizenship and the amount in controversy exceeds the jurisdictional minimum of

$75,000.

        5.       Venue is proper in the Western District of Pennsylvania pursuant to 28

U.S.C. § 1391(b)(2) because Defendant Prause purposely directed her tortious activities against

Plaintiff Rhodes in the State of Pennsylvania and caused harm to him in this venue. Dudnikov v.

Chalk & Vermillion Fine Arts, 514 F.3d 1063, 2008 U.S. App LEXIS 1870 (2008).

                                          Factual Allegations
        6.       This matter arises out of false and defamatory statements by Defendant Prause,

acting in her capacity as owner and operator of Defendant Liberos, alleging that Plaintiff Rhodes

is a stalker, misogynist, serial harasser, promoter of violence against women, cyberstalker, subject

to restraining/no-contact orders, affiliated with an extremist hate group and threatens rape.

        7.       Plaintiff Rhodes created the online website called “NoFap” to engage in discussion

with others regarding pornography and the problems of excessive consumption.

        8.       Plaintiff Rhodes created the website primarily because of his own personal

experiences with Internet pornography. Around the age of 11, Plaintiff Rhodes encountered

pornography while using the Internet. This quickly led to what he refers to as an out-of-control

habit that took over his life.

        9.       Rhodes engaged in online discussion about the subject and noticed that many other

people seemed to be experiencing similar issues to his. He was additionally inspired by concepts
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that he learned while pursuing an undergraduate biology degree at the University of Pittsburgh.

Plaintiff Rhodes formally created NoFap in June 2011 as a forum for people to discuss the effects

of excessive Internet pornography viewing, compulsive sexual behavior, and the recovery process.

It was first formed as a forum on Reddit (a “subreddit”) and then quickly launched its own

standalone domain name now at NoFap.com.

       10.       Plaintiff Rhodes’ website became more popular over time, with the current

membership exceeding 260,000 forum members and 496,000 Reddit subscribers. The website

receives millions of visits per month.

       11.       Plaintiff Rhodes incorporated NoFap LLC, a single member limited liability

company for the purpose of operating NoFap.com and providing support and resources to those

who have an addiction to pornography or who feel that they suffer from excessive pornographic

consumption.

       12.       Plaintiff Rhodes has become a widely recognized figure within the emerging field

of excessive Internet pornography viewing. While not a mental healthcare professional, Mr.

Rhodes offers a unique perspective of a nonreligious person (who does not have moral qualms

with using pornography) who used far too much pornography growing up. Plaintiff Rhodes has

been willing to transparently talk about the negative effects that he experienced in his life and

relationships.

       13.       Plaintiff Rhodes has consistently stated that he is strictly against addressing

excessive pornography consumption with censorship. Rhodes does not push for the creation or

consumption of pornography to be banned or restricted in any way. Rhodes aims to provide

resources to help people who struggle with compulsive pornography use and to raise awareness

about the potential problems associated with excessive Internet pornography consumption.
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         14.   Plaintiff Rhodes has been interviewed for articles about pornography addiction by

numerous publications, including Time Magazine, the Pittsburgh Post-Gazette and The New York

Times.

         15.   Plaintiff Rhodes has been interviewed on NPR’s Here & Now, Showtime’s Dark

Net, CNN’s This is Life with Lisa Ling, and CBS’s The Doctors.

         16.   Rhodes has won The Society for the Advancement of Sexual Health (“SASH”)

Media Award for his work raising awareness about problematic Internet pornography viewing.

         17.   Rhodes has written an opinion piece about pornography for The Washington Post’s

website.

         18.   NoFap has been featured in numerous prominent publications, including Esquire,

Business Insider, Cosmopolitan, New York Magazine and many more.

         19.   Plaintiff Rhodes has an excellent reputation within his field. His website has been

utilized by many individuals who struggle with issues stemming from excessive pornography

consumption.

         20.   Defendant Prause is a licensed psychologist who frequently argues against the

existence of “porn addiction” and pornography-induced sexual dysfunctions in the academic world

and in the media. Defendant Prause is frequently cited as an expert in blog articles that discuss

purported positive effects of using Internet pornography or endeavor to debunk the concept of

“porn addiction.”

         21.   Defendant Liberos is a for-profit “sexual biotechnology company” founded and

created by Defendant Prause in 2015.

         22.   Plaintiff Rhodes has never held himself out to be a medical professional. Plaintiff

Rhodes’ website does not offer mental healthcare treatment. Rather, Plaintiff Rhodes, through
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NoFap, has shared his story and offered a forum for others with similar experiences to discuss their

own experiences and solutions that have helped them.

       23.        Recently, a vigorous academic and societal debate has emerged about whether

compulsive pornography use could be considered a behavioral addiction. Plaintiff Rhodes believes

that Defendant Prause has targeted him because he runs one of the most popular websites for those

who have suffered from the effects of excessive pornography consumption.

       24.        For over three years prior to October 28, 2019, Defendant Prause has regularly

insulted and criticized Plaintiff Rhodes online through a variety of forums, including Twitter,

regarding his website, statements and appearances, as well as his associations with other advocates.

       25.        Beginning on October 27, 2018, the day of the shooting at the Tree of Life

Synagogue, Defendant Prause escalated her attacks on Plaintiff Rhodes and NoFap, beginning in

a Twitter thread. See Twitter Conversations, attached hereto as Exhibit 1.

       26.        Defendant Prause’s posts falsely allege, among other things, that Plaintiff Rhodes:

             a.   Threatened to stalk Defendant Prause
             b.   Cyberstalks Defendant Prause and other women
             c.   Harasses Defendant Prause
             d.   Is subject to no-contact/restraining orders
             e.   Is misogynistic
             f.   Promotes the “Proud Boys” and works with multiple members of the group

       27.        Defendant Prause has repeatedly claimed that she has reported Plaintiff Rhodes to

the FBI for his alleged misconduct.

       28.        Defendant Prause also accuses NoFap of being a hate group, that NoFap promotes

discrimination against protected groups, that NoFap advertises multiple antisemitic groups, and

that by visiting NoFap people are supporting misogyny and antisemitism. The accusations against

both Plaintiff Rhodes and NoFap will herein be referred to as the “False Statements”.
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       29.     Plaintiff Rhodes has not initiated unwarranted communication with or about

Defendant Prause or engaged in any behavior that could be reasonably interpreted as cyberstalking

Defendant Prause. Plaintiff Rhodes has never cyberstalked Defendant Prause or anyone else.

       30.     Plaintiff Rhodes has never threatened to stalk Defendant Prause or anyone else.

       31.     Plaintiff Rhodes has had no known interactions with Defendant Prause outside of a

few brief Twitter conversations. The only purpose of any communication ever engaged in by

Plaintiff Rhodes with Defendant Prause was in response to escalating personal attacks and

defamation by Defendant Prause. On non-private Twitter profiles, postings (often nick-named

“tweets”) are viewable by any of Twitter’s millions of users. Any communication known to ever

occur between Plaintiff Rhodes and Defendant Prause has been publicly observable on the Twitter

platform. Plaintiff Rhodes never harassed Defendant Prause or anyone else.

       32.     Plaintiff Rhodes has had zero private interactions with Defendant Prause. Plaintiff

Rhodes has never attempted to communicate privately with Defendant Prause, including via social

media private messaging (such as Facebook messages or Twitter direct messages), phone call, text

message, phone messaging app (such as WhatsApp or Snapchat), webcam communication

program (such as Skype or FaceTime), email, postal mail, or any other medium of private

communication.

       33.     Plaintiff Rhodes is unaware of any no-contact or restraining order against him.

Plaintiff Rhodes has never been served with, or put on notice of, any court proceeding against him

from any law enforcement agency or Court, whether initiated by Defendant Prause or anyone else.

       34.     Plaintiff Rhodes has never promoted misogyny.

       35.     Plaintiff Rhodes has never promoted violence against women.

       36.     Plaintiff Rhodes has never promoted antisemitism.
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          37.   Plaintiff Rhodes has never been charged with, or convicted of, any misdemeanor or

felony.

          38.   The “Proud Boys” is an extremist group which self describes as “Western

Chauvinists”. The “Proud Boys” only admits men to its group and has been designated by the

Southern Poverty Law Center as a hate group.

          39.   Plaintiff Rhodes has never promoted the “Proud Boys” group and does not condone

its extremist rhetoric. Plaintiff Rhodes has never been a member of, or promoted, any hate group.

          40.   NoFap is a website which hosts online forums consisting of hundreds of thousands

of users who have published millions of user-generated messages. NoFap is one of the most visited

websites for those who suffer from excessive pornography consumption.

          41.   NoFap maintains the following terms of service for use of its website:

                Misogyny, misandry, racism, anti-LGBT, or any sweeping statements
                pertaining to every member of a demographic of people are not
                permitted. Although we may have differing viewpoints, we're all here to
                provide an inclusive place to help each other abstain from PMO.
                Particularly, threads attacking women and threads based in hatred toward a
                specific group of people are not permitted on the forum and subject to
                moderation action or warning.”
See https://forum.nofap.com/index.php?threads/nofaps-forum-posting-rules-and-etiquette-

guidelines.121256/ (emphasis supplied), a copy of which is attached hereto as Exhibit 2.

          42.   Anyone with Internet access can register and post on NoFap’s forums, but they do

have to abide by a published list of rules. Among these rules, the site explicitly bans hate speech,

harassment or organizing harassment of any kind, threats, or other unlawful activity. NoFap’s

usership is incredibly diverse. Plaintiff Rhodes is proud that his website NoFap hosts members

from many countries around the world, of various religious and spiritual beliefs (or non-belief),

genders, sexual orientations, races, political beliefs, and ages.
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       43.     The forum discussion at NoFap is primarily maintained by volunteer moderators

chosen from active and helpful community members. These community moderators remove rule

breaking posts and sanction users who break rules with warnings, temporary bans, or permanent

bans. In the rare occasion that a situation appears serious enough to suggest that somebody may

be in harm’s way, such as if an individual posted that they plan to commit a violent felony, NoFap

would proactively alert local authorities in the area that the poster is believed to reside.

       44.     In her Twitter attacks and the False Statements, Defendant Prause knowingly and

falsely equated posts across various websites, including, but not limited to posts containing the

hashtag #nofap, mentioning or referencing “NoFap”, or containing “NoFap” in their usernames,

by other people to NoFap or Plaintiff Rhodes, with no evidence of any connection between the

two, creating the impression that Plaintiff Rhodes and NoFap wrote these posts themselves.

       45.     Defendant Prause continued her attacks on Plaintiff Rhodes after the initial posts

on October 27, 2018, including reposting and disseminating the False Statements on Twitter on

November 26, 2018, November 30, 2018, and March 11, 2019. See Exhibit 1.

       46.     Among these False Statements, Defendant Prause reached out to a journalist who

quoted Plaintiff Rhodes in a story about pornography published in The Guardian, tweeting that

“there are actual experts who study this topic & don’t threaten to rape & stalk women.”

       47.     Upon information and belief, Defendant Prause has repeatedly reached out to

journalists to relay false and defamatory information about Plaintiff Rhodes and NoFap.

       48.     Plaintiff Rhodes has never threatened to rape Defendant Prause or anyone else.

       49.     Plaintiff Rhodes has never witnessed Defendant Prause being threatened with rape

or stalking by anyone or any user of his forums.
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       50.        If Plaintiff Rhodes witnessed a user on his website threatening to rape Defendant

Prause or stalk Defendant Prause, Rhodes would alert law enforcement entities.

       51.        Upon information and belief, Defendant Prause has utilized several anonymous or

alias accounts, across several Internet platforms, in an effort to defame, harass, and otherwise

disseminate false information regarding Plaintiff Rhodes and NoFap.

       52.        Upon information and belief, Defendant Prause has also engaged in a campaign of

harassing other individuals and organizations, often utilizing false allegations, who Defendant

Prause disagrees with, including:

             a.   John Adler, MD
             b.   D.J. Burr, LMHC
             c.   Stefanie Carnes, Ph.D.
             d.   Geoff Goodman, Ph.D.
             e.   Bradley Green, Ph.D.
             f.   Laila Haddad
             g.   Linda Hatch, Ph.D.
             h.   Donald Hilton, MD
             i.   Staci Sprout, LICSW
             j.   Gary Wilson
             k.   Exodus Cry Inc.


       53.        At all times material herein, upon information and belief, Defendant Prause used

several different Twitter accounts to harass and tortiously injure Plaintiff Rhodes. Defendant

Prause would change the name of her personal Twitter account to that of Defendant Liberos, and

included Defendant Liberos’ logo in her Twitter profile, giving the appearance that her personal

Twitter account was the official Twitter account for Defendant Liberos and that she was sending

messages on behalf of Defendant Liberos. The cover image of a Twitter account with the username

"NicoleRPrause" prominently featured the Liberos company logo.
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       54.     At all times material herein, Defendant Prause was acting on behalf of, and for the

benefit of, Defendant Liberos while interacting on Twitter.

       55.     Starting in September 2019, Defendant Prause has started to allege that in addition

to cyberstalking her, Plaintiff Rhodes is now also physically stalking her.

       56.     On September 4, 2019, Plaintiff Rhodes was contacted by the CBS television show

The Doctors to appear on the show and discuss his own personal experiences.

       57.     Plaintiff Rhodes had an initial phone call with a producer. Within the same phone

call, Plaintiff Rhodes was informed that Defendant Prause was being considered to appear on the

same episode of The Doctors.

       58.     Upon information and belief, Defendant Prause represented to the production team

that Plaintiff Rhodes was stalking her, that Defendant Prause would feel unsafe and threatened if

Plaintiff Rhodes were to appear on the show, and that Defendant Prause has a restraining order

against Rhodes. Plaintiff Rhodes was subsequently informed by the production team that his

appearance was in jeopardy.

       59.     Plaintiff Rhodes was forced to spend numerous hours and several conversations

with the producers of The Doctors to defend his reputation and inform them that these allegations

were false.

       60.     Plaintiff Rhodes has never met or even seen Defendant Prause, and to his

knowledge, has never been in the same city as Defendant Prause during the period where

Defendant Prause claims that Rhodes stalked her. Plaintiff Rhodes has never followed Defendant

Prause, visited Defendant Prause’s workplace or residence, attempted or desired to see or meet

with Defendant Prause, tracked Defendant Prause’s movements or whereabouts, or otherwise done
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anything that could be reasonably interpreted as stalking Defendant Prause. Rhodes has never

stalked Defendant Prause or anyone else.

       61.     Plaintiff Rhodes made arrangements to fly to California and appear on the show in

order to discuss his personal experience and promote NoFap LLC.

       62.     Defendant Prause published all of the False Statements despite knowing they were

false or showing extreme disregard for the truth of the False Statements.

       63.     The False Statements have been published with malice, in an attempt to harass,

embarrass, and discredit Plaintiff Rhodes personally and professionally.

       64.     The False Statements were directed to Plaintiff Rhodes, and the greatest harm

suffered by Plaintiff Rhodes, in the Greater Pittsburgh area.

       65.     As a direct and proximate result of Defendant Prause’s publication of the False

Statements, Plaintiff Rhodes has been harmed and continues to be harmed.

                             Count I: Defamation – Libel, Libel Per Se
       66.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

1-65 as though set forth fully herein.

       67.     Defendants published and re-published the False Statements of and concerning

Plaintiff Rhodes on the Internet, and other mediums, asserting and creating the false impression

that, among other things, Plaintiff Rhodes stalks women, makes rape threats, is a misogynist, works

with the extremist group “Proud Boys”, and is in violation of no-contact/restraining orders.

Further, Defendants published and republished allegations that NoFap supports the extremist/hate

group “Proud Boys”, promotes misogyny, promotes rape threats, and generally is a hate group.
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        68.     The False Statements contained therein tend to harm the otherwise good reputation

of Plaintiff Rhodes as to lower them in the estimation of the community or to deter third persons

from associating or dealing with Plaintiff Rhodes.

        69.     The False Statements contained therein ascribe to Plaintiff Rhodes’ conduct,

character, and conditions that adversely affect his fitness for the proper conduct of his business,

trade and profession.

        70.     The False Statements contained therein have grievously fractured Plaintiff Rhodes’

standing in the community of respectable society by producing a negative impression of Plaintiff

Rhodes in the minds of the average persons among whom the False Statements are intended to

circulate.

        71.     The False Statements are intended to, and do indeed, create the impression that

Plaintiff Rhodes maintains and promotes extremist values and incites violence against women.

        72.     Defendants published the False Statements without authorization or consent.

        73.     The False Statements constitute libel per se as they are false, defamatory, impugn

Plaintiff Rhodes’ reputation, impute criminal conduct to Plaintiff Rhodes and injuriously affect

Plaintiff Rhodes’ business name and trade.

        74.     Plaintiff Rhodes is informed and believes, and upon that basis, alleges that the False

Statements were written and published with actual malice in that the False Statements were made

with knowledge of their falsity, or with reckless disregard as to the truth or falsity. Plaintiff Rhodes

is further informed and believes, and upon that basis, asserts that such False Statements were

specifically directed and communicated to individuals considering Plaintiff Rhodes’ services, as

well as Plaintiff Rhodes’ colleagues, associates, team members, neighbors, friends and family, for

the purpose of damaging Plaintiff Rhodes’ reputation and business.
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       75.     Upon information and belief, the False Statements were read by visitors of the

Internet, throughout the State of Pennsylvania and throughout the Greater Pittsburgh area,

including but not limited to Plaintiff Rhodes’ current, past, and prospective business associates,

neighbors, friends, and family.

       76.     As a direct and proximate result of the False Statements, Plaintiff Rhodes has

suffered significant reputational harm and sustained actual damages including, but not limited to,

loss of capital and revenue, lost productivity, expenses incurred, and loss of intangible assets in an

amount exceeding the jurisdictional minimum of Seventy Five Thousand Dollars ($75,000.00),

with the exact amount to be proven at trial.

       77.     Plaintiff Rhodes requests a permanent injunction halting the continued

dissemination of the False Statements described herein, and further ordering Defendants to remove

the False Statements from the Internet, and requests Google, Bing, Yahoo! and other search engine

providers to remove the Publications, and the URLs containing those statements, from their

respective search results. Plaintiff Rhodes further requests that Defendants are enjoined from

further activity that would defame and otherwise continue to inflict harm to Plaintiff Rhodes.

Without a permanent injunction judgment of this Court, Defendants’ false statements will continue

to cause great and irreparable injury to Plaintiff Rhodes and Defendants will be able to continue

their tortious campaign against Plaintiff.


                            Count II: Invasion of Privacy – False Light
       78.     Plaintiff Rhodes repeats and re-alleges each and every allegation contained in

paragraphs 1-77 as though set forth fully herein.
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       79.     Through the False Statements, Defendants have given publicity (i.e. widespread

dissemination on the Internet) to matters concerning Plaintiff Rhodes that unreasonably place

Plaintiff Rhodes in a false light before the public as the Publications create the false impression

that Plaintiff Rhodes maintains and promotes extremist values and engages in criminal activity.

       80.     The False Statements contain such major misrepresentations and create such a false

impression of Plaintiff Rhodes’ character, history, activities, and beliefs that serious offense may

reasonably be expected to be taken by a reasonable person in his position.

       81.     The false light in which Plaintiff Rhodes has been placed would be highly offensive

to a reasonable person.

       82.     Defendants’ actions constitute actual malice as they had knowledge of or acted in

reckless disregard as to the falsity of the publicized matters and the false light in which Plaintiff

Rhodes would be placed.

       83.     The false light in which Plaintiff Rhodes has been placed has caused and would

cause mental suffering, shame, and humiliation to a person of ordinary sensibilities.

       84.     As a result of the false light in which he has been placed, Plaintiff Rhodes has

suffered harm to his interest in privacy, mental distress, and special damages, in an amount

exceeding the jurisdictional minimum of Seventy-Five Thousand Dollars ($75,000.00), with the

exact amount to be proven at trial.


                                             PRAYER
       WHEREFORE, Plaintiff Alexander Rhodes demands judgment against Defendants Nicole

Prause and Liberos LLC, as follows:

       (a)     Injunctive relief that Defendants are prohibited from republishing the False

               Statements about Plaintiff, his family, employees, business partners, attorneys,
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      agents, servants, representatives, businesses, or services which defame, disparage,

      or contain libelous statements about Plaintiff;

(b)   Permanent deletion of the False Statements which name or make reference to

      Plaintiff Rhodes;

(c)   Actual and/or compensatory damages, and punitive damages where available, in an

      amount exceeding the jurisdictional minimum of $75,000.00 with the exact amount

      to be proven at trial;

(d)   Costs of this action, reasonable attorney fees, and pre- and post-litigation interest

      at the maximum rate provided by law;

(e)   For any and all other relief to which the Court determines Plaintiff is entitled.



                               Trial by jury is demanded.

                                                  Respectfully submitted,



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